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Attorney or Party Name, Address, Telephone & FAX Nos.,                       FOR COURT USE ONLY
State Bar No. & Email Address
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   Individual appearing without attorney
   Attorney for Debtor

                                            UNITED STATES BANKRUPTCY COURT
                                                                      LOS ANGELES
                                      CENTRAL DISTRICT OF CALIFORNIA -Name           DIVISION
                                                                           of DIVISION

In re:                                                                       CASE NO.: 19-bk-14989
                                                                             CHAPTER: 11
Scoobeez


                                                                                   SUMMARY OF AMENDED SCHEDULES,
                                                                                        MASTER MAILING LIST,
                                                                                        AND/OR STATEMENTS
                                                                                           [LBR 1007-1(c)]
                                                               Debtor(s)

A filing fee is required to amend Schedules D or E/F (see Abbreviated Fee Schedule on the Court’s website
www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is required as an
attachment if creditors are being added to the Schedule D or E/F.
Are one or more creditors being added?       Yes    No

The following schedules, master mailing list or statements (check all that apply) are being amended:
         Schedule A/B          Schedule C               Schedule D               Schedule E/F             Schedule G
         Schedule H            Schedule I               Schedule J               Schedule J-2             Statement of Financial Affairs
         Statement About Your Social Security Numbers                  Statement of Intention             Master Mailing List
         Other (specify) ___________________________________________________________________

I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true and correct.

Date: ______________                                                   ___________________________________________
                                                                       Debtor 1 Signature
                                                                       ___________________________________________
                                                                       Debtor 2 (Joint Debtor) Signature (if applicable)
NOTE: It is the responsibility of the Debtor, or the Debtor’s attorney, to serve copies of all amendments on all creditors
      listed in this Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file
      the attached Proof of Service of Document.

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

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